469 F.2d 1407
    U. S. ex rel. Tidwellv.Adams (citing Carter v. Duggan, C.A.5, 455 F.2d 1156;Collins v. Moore, C.A.5, 441 F.2d 550)***
    No. 72-1762
    United States Court of Appeals, Fifth Circuit
    June 30, 1972
    
      1
      W.D.La.
    
    
      
        *
         Local Rule 21 cases:  see N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
      
        **
         This pro se case summarily disposed of, pursuant to this Cour t's Local Rule 9(c)(2), appellant having failed to file a brief with in the time fixed by Rule 31, Federal Rules of Appellate Procedure , Kimbrough v. Beto, 5 Cir., 1969, 412 F.2d 981
      
    
    